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 9 Attorneys for Defendant
   TERRY CHRISTENSEN
10
11                           UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13
14 UNITED STATES OF AMERICA,                 )   Case No. CR 05-1046(E)-DSF
                                             )
15             Plaintiff,                    )   ORDER GRANTING TERREE A.
                                             )   BOWERS AND HOWREY LLP’S
16       vs.                                 )   MOTION FOR LEAVE TO
                                             )   WITHDRAW AS COUNSEL FOR
17 ANTHONY PELLICANO                         )   DEFENDANT TERRY
   and TERRY CHRISTENSEN,                    )   CHRISTENSEN
18                                           )
             Defendants.                     )   The Honorable Dale S. Fischer
19                                           )
                                             )   Courtroom:      840
20                                           )
                                             )   Hearing Date:     [Not Required]
21                                           )
                                             )
22                                           )
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      [PROPOSED] ORDER GRANTING TERREE A. BOWERS AND HOWREY LLP’S MOTION FOR LEAVE TO
                   WITHDRAW AS COUNSEL FOR DEFENDANT TERRY CHRISTENSEN
 Case 2:05-cr-01046-DSF Document 2224 Filed 03/19/09 Page 2 of 2 Page ID #:26488



 1        The Court having considered Terree A. Bowers and Howrey LLP’s Motion for
 2 Leave to Withdraw as Counsel for Defendant Terry Christensen, the Stipulation to
 3 Withdrawal of Terree A. Bowers and Howrey LLP’s as Counsel of Record, and upon
 4 consideration of all briefing submitted in support of the motion, hereby orders as
 5 follows:
 6
 7        NOW THEREFORE, IT IS HEREBY ORDERED THAT
 8 Terree A. Bowers and Howrey LLP are immediately granted leave to withdraw as
 9 counsel of record for Defendant Terry Christensen in the matter United States of
10 America v. Terry Christensen, Case No. CR 05-1046(E)-DSF and any and all appeals
11 that may be taken therefrom.
12
13 IT IS SO ORDERED.
14
15 Dated: March 19, 2009                               _____________________________
16                                                     HONORABLE DALE S. FISCHER
                                                       United States District Judge
17
18
19 Submitted by:
   Terree A. Bowers
20 Howrey LLP
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       [PROPOSED] ORDER GRANTING TERREE A. BOWERS AND HOWREY LLP’S MOTION FOR LEAVE TO
                    WITHDRAW AS COUNSEL FOR DEFENDANT TERRY CHRISTENSEN
